AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                      JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
          V.                                                                  (For Offenses Committed On or After November 1, 1987)



STEPHANIE M. PARKER                                                           Case Num ber: DNCW 107CR000028-007
                                                                              USM Num ber: 21951-058

                                                                              Eric J. Foster
                                                                              Defendant’s Attorney


THE DEFENDANT:

X         adm itted guilt to violation of condition(s) 1 and 2 of the term of supervision.
          W as found in violation of condition(s) count(s)          After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):



                                                                                                     Date Violation
 Violation Num ber                    Nature of Violation                                            Concluded

 1                                    New Law Violation: Shoplifting Concealm ent of                 2/2/2010
                                      Goods and Misdem eanor Larceny

 2                                    Failure To Make Required Court Paym ents                       10/20/10



       The Defendant is sentenced as provided in pages 1 through 1 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X         THE DEFENDANT IS DISCHARGED FROM SUPERVISION.

         Notwithstanding Defendant’s adm ission of the violations, the Court does not revoke Defendant’s Supervised
Release. Defendant’s Supervised Release expired on October 31, 2010, and therefore Defendant is discharged from
further supervision.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.


                                                                              Date of Im position of Sentence: 1/20/2011

                                                                                 Signed: January 27, 2011




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